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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP,                )
BI-LEVEL PAP, AND MECHANICAL                 )       Master Docket: Misc. No. 21-1230
VENTILATOR PRODUCTS                          )
LITIGATION,                                  )       MDL No. 3014
                                             )
This Document Relates to: All Actions        )

       Joint Proposed Agenda for December 14, 2023 Status Conference: Philips MDL 3014

  1. Discovery Update/Status of Proceedings with Special Master Katz;

  2. Update on Economic Loss Class Settlement Notice, including Joint Motion to Publish the Notice on

      the Court’s Website (ECF 2375);

  3. Findings of Fact & Conclusions of Law re: Rule 12(b)(2) Motion to Dismiss;

  4. Objections to Report & Recommendation of Special Master Vanaskie re: Motions to Dismiss;

  5. Objections to Report & Recommendation of Special Master Katz re: Medical Monitoring Discovery;

  6. Update on Census Registry;

  7. Update on State Court Litigation; and

  8. LDC Update.

Dated: December 12, 2023                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on this 12th day of December, 2023 and is available for download by

all counsel of record.



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